           Case 1:22-vv-00512-UNJ Document 33 Filed 03/25/24 Page 1 of 7




  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 22-0512V


 MARCO RAMOS,                                                Chief Special Master Corcoran

                         Petitioner,                         Filed: February 22, 2024
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                        Respondent.


Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Emilie Williams, U.S. Department of Justice, Washington, DC, for Respondent.

                               DECISION ON JOINT STIPULATION 1

        On May 9, 2022, Marco Ramos filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the “Vaccine
Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine administration
(“SIRVA”) following an influenza vaccination he received on October 6, 2020. Petition at
1; Stipulation, filed at February 21, 2024, ¶¶ 2, 4. Petitioner further alleges that his SIRVA
symptoms persisted for more than six months.” Petition at ¶ 7; Stipulation at ¶ 4.
“Respondent denies that “Petitioner sustained a SIRVA Table injury, denies that
Petitioner’s alleged shoulder injury was caused-in-fact by the flu vaccine, and denies that
the flu vaccine caused Petitioner any other injury or his current condition.” Stipulation at
¶ 6.




1 Because this Decision contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
           Case 1:22-vv-00512-UNJ Document 33 Filed 03/25/24 Page 2 of 7



       Nevertheless, on February 21, 2024, the parties filed the attached joint stipulation, 3
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $25,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision. 4

       IT IS SO ORDERED.

                                                                   s/Brian H. Corcoran
                                                                   Brian H. Corcoran
                                                                   Chief Special Master




3
 The final page of the filed Stipulation, which contains the electronic signature verification, has been
removed to protect the signers’ personal information.

4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

                                                      2
              Case 1:22-vv-00512-UNJ Document 33 Filed 03/25/24 Page 3 of 7


Vinesign Document ID: 07181BCA-0885-4875-89EE-BD004C357F7D




                           IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                         OFFICE OF SPECIAL MASTERS

                                         )
            MARCO RAMOS,                 )
                                         )
                     Petitioner,         )
                                         )                           No. 22-512V
           V.                            )                           Chief Special Master Corcoran
                                         )                           ECF
           SECRETARY OF HEALTH AND HUMAN )
           SERVICES,                     )
                                         )
                     Respondent.         )
           _ _ _ _ _ _ _ _ _ _ _ _)
                                                    STIPULATION

                  The parties hereby stipulate to the following matters:

                   1. Marco Ramos, petitioner, filed a petition for vaccine compensation under the National

           Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-10 to -34 (the "Vaccine Program").

           The petition seeks compensation for injuries allegedly related to petitioner's receipt of an

           influenza ("flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the "Table"),

           42 C.F.R. § 100.3(a).

                  2. Petitioner received the flu vaccine on October 6, 2020. The vaccine administration

           records indicate the vaccine was administered in the left arm.

                  3. The vaccination was administered within the United States.

                  4. Petitioner alleges that he suffered a left Shoulder Injury Related to Vaccine

           Administration ("SIRVA") within the time period set forth in the Table, and further alleges that

           he experienced the residual effects of his injury for more than six months.

                  5. Petitioner represents that there has been no prior award or settlement of a civil action

           for damages on his behalf as a result of his condition.




The signed document can be validated at https://app.vinesign.comNerify
   Case 1:22-vv-00512-UNJ Document 33 Filed 03/25/24 Page 4 of 7




       6. Respondent denies that petitioner sustained a SIRVA Table injury, denies that

petitioner's alleged shoulder injury was caused-in-fact by the flu vaccine, and denies that the flu

vaccine caused petitioner any other injury or his current condition.

       7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

       8. As soon as practicable after an entry ofjudgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-2l(a)(l), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

       A lump sum of $25,000.00 in the form of a check payable to petitioner. This
       amount represents compensation for all damages that would be available under 42
       U.S.C. § 300aa-15(a).

       9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-2l(a)(l), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys' fees and costs incurred in proceeding

upon this petition.

        I0. Petitioner and his attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa- l 5(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.



                                                  2
   Case 1:22-vv-00512-UNJ Document 33 Filed 03/25/24 Page 5 of 7




        11. Payment made pursuant to paragraph 8 of this Stipulation and any amounts awarded

pursuant to paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-

15(i), subject to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursed expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa- l 5(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in his

individual capacity, and on behalf of his heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on October 6, 2020, as

alleged by petitioner in a petition for vaccine compensation filed on or about May 9, 2022, in the

United States Court of Federal Claims as petition No. 22-512V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.




                                                   3
    Case 1:22-vv-00512-UNJ Document 33 Filed 03/25/24 Page 6 of 7




        15. If the special master fails to issue a decision in complete confonnity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged shoulder

injury or any other injury.

        I 8. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION
I
I
I
I
I
I
I
I
I
I
I


                                                  4
    Case 1:22-vv-00512-UNJ Document 33 Filed 03/25/24 Page 7 of 7




Respectfully submitted,

PETITIONER:



~
MARCO RAMOS


ATTORNEY OF RECORD FOR                                     AUTHORIZED REPRESENTATIVE
                                                           OF THE ATTORNEY GENERAL:
PEL

                                                           , .-&LeMk½i.£..e~
MAXIMILLIAN J. MULLER                                      HEATHER L. PEARLMAN
MULLER BRAZIL                                              Deputy Director
715 Twining Road, Suite 208                                Torts Branch
Dresher, PA 19025                                          Civil Division
Tel: (215) 885-1655                                        U.S. Department of Justice
Email: max@mullerbrazil.com                                P.O. Box 146
                                                           Benjamin Franklin Station
                                                           Washington, DC 20044-0146

AUTHORIZED REPRESENTATIVE                                  ATTORNEY OF RECORD FOR
OFTHESECRETARYOFHEALTH                                     RESPONDENT:
AND HUMAN SERVICES:
George R. Grimes - OigitallysignedbyGeorgeR.
                   Grlmes •S14
S14                Date: 2024.02.05 14:40'32 -05'00'

CDR GEORGE REED GRIMES, MD, MPH                            EMILIE F. WILLIAMS
Director, Division oflnjury                                Trial Attorney
 Compensation Programs                                     Torts Branch
Health Systems Bureau                                      Civil Division
Health Resources and Services                              U.S. Department of Justice
 Administration                                            P.O. Box 146
U.S. Department of Health                                  Benjamin Franklin Station
 and Human Services                                        Washington, DC 20044-0146
5600 Fishers Lane, 08W-25A                                 Tel: (202) 305-0124
Rockville, MD 20857                                        Email: Emilie.williams@usdoj.gov



Dated: - - - '2\2\ \ 2-Y
            , - - + - ,- ~ - -




                                                       5
